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         ATTACHMENT 2
     Declaration of Mario Gomez
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 4
                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
 5                                 AUSTIN DIVISION
 6
                                                       )
 7   UNITED STATES OF AMERICA,                         )
 8                                                     ) Civ. Action No. 1:23-cv-00853
                         Plaintiff,                    )
 9                                                     )
           v.                                          )
10
                                                       )
11   GREG ABBOTT, in his capacity as                   )
     GOVERNOR OF THE STATE OF TEXAS,
12                                                     )
     and the STATE OF TEXAS
                                                       )
13
                                                       )
                          Defendants.
14                                                     )
15
16                DECLARATION OF MARIO GOMEZ IN SUPPORT OF

17        THE UNITED STATES’ MOTION FOR PRELIMINARY INJUNCTION

18
19   I, Mario Gomez, do declare as follows:

20   1. I am the Acting Area Operations Manager, Amistad Dam Field Office for the United

21       States Section of the International Boundary and Water Commission (USIBWC)
22       where I am responsible for the daily operations of the Agency’s Amistad Dam and
23       related infrastructure, which includes activities in the Rio Grande floodplain in
24       Maverick County, Texas.
25   2. Based on my personal knowledge, as well as information provided to me in the
26       course of my official duties, I declare as follows:
27   3. On June 12, 2023, I attended a meeting in Eagle Pass, Texas, with the Texas
28
         Department of Public Safety (DPS) where the DPS notified USIBWC that the State
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 1      of Texas was planning to place a buoy barrier system in the Rio Grande. DPS
 2      estimated installation would occur between July 7-10, 2023. My subordinate Evelio
 3      Siller, who is the Safety of Dams engineer for Amistad and Falcon Dams, took the
 4      notes attached at Exhibit A. I agree that these notes accurately reflect what
 5
        USIBWC personnel, including me, were told on June 12, 2023, by DPS. Mr. Siller
 6
        created a map that depicts the location underneath the International Bridge as part of
 7
        his report of this meeting.
 8
     4. In that meeting, DPS stated that Maverick County is the test site for the buoy barrier
 9
        system and that it would be placed in 3 different locations in the Rio Grande adjacent
10
        to the County. One location is near the IBWC Eagle Pass gaging station another
11
        planned location is a span underneath both the International Bridge II and the
12
        International Railroad Bridge, and the other location is approximately 2 miles
13
        downstream of the International Bridge II. DPS indicated that this project could be
14
15      expanded.

16   5. DPS stated that the first site is a “test site” for how the buoy barrier worked and that

17      DPS preferred a location under the International Railroad Bridge near Eagle Pass,
18      Maverick County, Texas as the first test site. To my knowledge, no buoys have been
19      installed under Railroad International Bridge but have instead been installed at a site
20      approximately 2 miles downstream of International Bridge.
21   6. DPS explained that the 3 buoy systems are each approximately 1,000 feet in length.
22      DPS explained that the buoy system consists of 4-foot diameter floating barriers, is
23      manufactured by Cochrane USA, and would be installed by a contractor, Spencer
24      Construction, LLC, for the State of Texas.
25
     7. DPS stated that there will be no netting under the buoys initially, but netting may be
26
        considered in the future.
27
28
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 1   8. DPS did not share detailed project plans at this meeting and the power point
 2      presentation was a high-level overview. Per DPS, this meeting was to inform us of
 3      their plans but not to discuss their plans in detail.
 4   9. On July 8, 2023, Demetrius Gaines, the Assistant Area Operations Manager for
 5
        USIBWC’s Amistad Dam field office, emailed photos to me that he had taken of the
 6
        buoy barriers and related equipment that were staged at Eagle Pass on July 8, 2023.
 7
        Exhibit B.
 8
     10. On July 10, 2023, I took photos of the buoy barriers and equipment being staged at
 9
        Shelby Park in Eagle Pass, Texas. Exhibit C. I could not see the proposed
10
        installation site in the Rio Grande at that time because the site was blocked by trailer
11
        boxes.
12
     11. On July 13, 2023, I drove personnel from the Mexican Section of the Commission
13
        and the U.S. Army Corps of Engineers to the installation site approximately 2 miles
14
15      downstream of International Bridge. While there, I directly observed and took photos

16      of the installation of the buoy barrier system. Exhibit D. I saw boats, an excavator

17      being operated, and people standing in the river. I saw the excavator pick up an
18      orange buoy and transport it to the middle of the river, placing it at the end of the
19      buoy chain system.
20   12. I also observed concertina wire along the riverbank at the site where the buoys are
21      being installed. The wire is on the riverbank adjacent to the water and within the
22      floodplain.
23   13. While the site I visited on July 13, 2023, was not the site underneath International
24      Bridge that was identified to us on June 12, 2023 as the “test site,” it is the only site
25
        that I am aware of where these buoys have been deployed.
26
27
     14. Texas has not provided USIBWC with any design drawings, construction plans, or

28      other technical information on the installation or design of the buoy system.
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            EXHIBIT A
       to the Declaration of
           Mario Gomez
    in support of the United States’
  Motion for Preliminary Injunction


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Date: June 12,2023

Meeting with Eagle Pass Department Public Safety Sector

Location: Eagle Pass Department Public Safety Building

IBWC Attendees:

Mario Gomez, Demetrius Gaines, Evelio Siller and Luise Martinez

Department of Public Safety Attendees:

Isaac Gonzalez (Lieutenant), Mr. Cordova and Laredo Section Lead

Meeting Notes Highlights:

   x   Buoy project is part of Governor Greg Abbott Operation Lonestar Initiative. The City of Eagle
       Pass are 100% on board with the DPS/Texas National Guard operations for border security.
   x   Maverick County is initial test site for Buoy system.
   x   Buoy system project has been an on-going 7-month design project with coordination between
       Department of Public Safety, Department of Homeland security, Texas National Guard and Texas
       Parks and Wildlife. The project has been approved and funded by the State of Texas.
   x   The buoy system will be installed in 3 strategic locations to prevent drownings. One location was
       shown for the initial installation of buoy system. (See page 2 for location on site plan).
   x   Installation of first (1,000 ft.) of buoy system will start approximately July 7-10,2023 with an
       estimated completion of 2-3 weeks.
   x   Buoy System:
           o System –Interconnecting linkable 4 foot diameter floating barriers
                     https://www.cochraneglobal.com/product/?product-type=3-water-barrier
           o Buoy system installation is temporary and movable as operation requires.
           o Manufacturer – Cochrane USA
           o Contractor – Spencer Construction LLC
           o Texas Park and Wildlife has brought up concerns about utilizing netting below barrier
                system and affecting the ecosystem within Rio Grande. Initially there will be no netting
                installed but most likely will be installed if immigrants swim under the barrier.
           o Project plans were not shared at this meeting. Local operation has been instructed to
                point IBWC to the State of Texas Land office for further project details and further
                communication in the future.
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                              Approximate location of initial Buoy
                              system installation. Estimated 1,000 ft.
                              section. (Note: Plan not to scale)
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